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                                                                          JUL 292021
                                                                       KEVIN R~5IM        CI-rA
                   IN THE UNIIED STATES DISTRICT COURT                   By: ~          u~ Cle
                  FOR ThE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


    UNITED STATES OF AMERICA
                                                Superseding Criminal Indictment

    VICTOR HILL                                 No. 1:21-CR-143


 THE GRAND JURY CHARGES THAT:

                                      Introduction

    At all times material to this Indictment:

    1. The Clayton County Jail (“the jail”) was a facffity in Jonesboro, Georgia,

 that housed arrestees, pretrial detainees awaiting trial, and convicted inmates

 awaiting transfer to state prison.

    2. The Clayton County Sheriff’s Office (“CCSO”) was the law enforcement

 agency responsible for staffing, maintaining, and running the jail.

    3. Defendant VICTOR HILL was the Clayton County Sheriff and was in

 charge of the CCSO and the administration of the jail.

    4. As a certified law enforcement officer, Defendant HILL regularly received

 training, including use-of-force training that instructed force may not be used to

 punish a subject.
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   5. The CCSO’s “Inmate Restraint Chair” policy (“the policy”).1 which had

been approved by: Defendant HILL, stated that “a restraint chair may be used by

Sethirity staff -to provide safe containment of an inmate e*hibfting violent or

uncontrollable behavior and to prevent self-injury, injury to others or property

damage when other control techniques are not effective,”

   6. Consistent with the Fourteenth Amendment’s Due Process Clause, the

policy emphasized that use of a restraint chair “wifi never be authorized as a

form of punishment.”

                                     Background

                                      Victim TA.

   7. OnFel..ruary 3,2020, J.A. all~gedly assaulted two wonien during a dispute

about ~~ho was n~pxt in lin~ ~t a Clayton Coi.miy grocery store.

   2. More than three weeks later, on the afternoon of Fthruary 25,2020, j.A.

was arrested by Forest Park Police Department officers and CCSO deputies

without incident Clayton Cotinty records indicate J.A. was unarmed, not under

the influence of drugs,. and offered no resistance.

   9~. A short time later, j.~A. was booked into the jail as a pretrial detainee.

pendingtriaI.o:n charges stemming from the g~’ocery store incident.



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   10. Dwing the Topking process, J.A. was escorted hy a group of deputies arid

correctiom officers to the fingerprinting area where Defendant HILL confronted

J.A.

   ii. During their exchange, Defendant HILL. asked j.~A. what J.A. had been

doing hi. Clayton County dn the day of the assault. J.A. replied, “It’s a

democracy, sir.. il’s the United States.” Defendant HILL snapped back, “No, it’s

not. Not in my county.”

   12. WhenJ.A.. asked whether he was entitled to a fair and speedy trial,

Defendant HILL replied, ~“Rofl that chair around here~ You stay out of Clayton

County, you. understand me? You sound like a dummy:.”

   ia. ~A~enJA again asked. whether he was entitled to a fair and speedy trial,

Defendant HILL replied, “You entitled to~~ sit in this: chair, and you’re entitled to

get the hull out of my county and don’t come back. That’s what you’re entitled

to.. You sound like a damn jackass.. Don’t you ever put your hand on a woman

like thatagain. You’re fo.rtmjate that wasn’t my mother or grandmama or you

wouldn’t be standing there. Now, sit thre ~d see if you c~n get some damn

sense in your head.~”




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   14. During J.A.’s interaction with Defendant HILL, j~A. was surrounded by

law er~forcement personnel at all times, was handcuffed most of the tune, and

never posed a threat to anyone.

   15. Following the interaction, J.A. was strapped into a. restraint chair and left

there for hours per Defendant HILL’s orders.

                                     Victim Cl-I.

   16. On April 26, 2020, CR, who had just turned seventeen years old,

allegedly vandalized his family home during an, argument with his mother and

then left.

   17. Shortly thereafter, a CCSO deputy apprehended C.H. nearby without

incident and turned C.H. over to the custody of the C aytor~ County Police

Department .(“CCPD”). Ciayftn County records indicate CH. was unarmed, not

tinder the influence of drugs., and. offered no resistance.

   1. The deputy, a CCSO supervisor, thenspoke with Defendant HILL on the

phone, texted Defendant HILL a photograph of C.H. handcuffed and seated in a

CCPD vehicle, and had the following text message exchange with Defendant

HILL:

        • Defènd:a~t HILL: How old is he?

        •. Deputy: 17

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      • Defendant HILL: Chair

   19. A few 1.o.urs later, very early on April 27,2020, C.H. was booked into the

jail as a pretrial detainee pending trial on charges stemming from the incident at

his home.

   20, Although C.H. had been compliant wjth law enforcement during and

after his arrest and ~iev& posed a threat to anyone, he was strapped into a

restraint chair and left there for several hours per Defendant HILL’s orders.

                                     Victimj.H.

   21. On the morning of April 27, 2020, J.H. was arrested by the Jonesboro

Police. Department following a domestic disturbance with possible drug use.

   22. At the police station after his arrest, J.H. fell out of a chair after apparently

pretending to pass oat. J.H. was transported to Southern Regional Medical

Center for evaluation.

   23. While being treated at the hospital, j.H. refused treatment and left the

building.

   24. When Jonesboro police officers later re-apprehended J,H.. outside his

grandn~iother’s house that afternoon, J.H. did not cooperate or comply with

officers’ commands and had tobe carried dowii some steps and placed into a



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patrol vehicle. Clayton County records indicate that J.H. was unarmed, not

under the influence of drugs, and offered no resistance.

   25. Tn the patrol vehicle, J.H~ again, appeared to feign unconsciousness but

offered no resistance.

   26. :Shoxtly thereafter, still during the afternoon of April 27, 2020, J.H. was.

booked inuio the jail as a pretrial detainee pending trial on charges stemming

from the domestic disturbance.

   27. ~Jpon J.J±’S his ~arrival at the jail, although J.H. was not combative and

never posed a threat to anyone, J.H. was strapped into a restraint chair and left

there for several hours per Defendant HILL’s orders.

   28. During his time in the re straijit c~hair, J’.H~ was not allowed to go. to the

restroom ~nd urinated on the r~fraintchalr.

   29., While C.H. and j.H. were both strapped in restraint chairs near each

other, Def~iidarat HILL confronted them.. Referring to C.H., Defendant HILL

said, ‘~Y~u krioww~hat he did yesterday? He went and destroyed his mother’s

house yesterday. That’s what this asshole right here did.”

   30. Addressing both C.H. and J.H., Defendant HILL then opined, “I think

both of y’all are just assholes that need a man to. kick y’all in the ass and y’a. be.

okay. I don’t think y’aIl are bad people.”

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   3t Still ackiressing both CR. and Jfl., Defendant HILL added, “Now, I’m

golig to tell you something. If I hear ab~utyou (C.H.) messing up your mama~s

house again, if I hear about you (J.H.) fighting cops and faking and going to the

Southern Regional and then walking out and pulling out the IV, I’m a sit your

ass in that chair for sixteen hours straight Do you understand me? I need to

hear from both of y’all thaty’ail not gonna show y’all’s ass in my county no

more.”

                                   Victim G.E

   32. GJL and. a CCSO deputy had a payment dispute over some landscaping

work G.H. did for the deputy in Butis Co~tmty, Georgia. The work and dispute

were: tm elated to the deputy’s employment with the CCSO. Afier learning

about ~,e dispute, lWend~r’tHILL called Gil. on April 23, .2020..

   33. During the call, Defendant HILL identified himself as the Clayton County

Sheriff and asked Gil. why he was harassing his deputy. Gil. replied that

Defendant Hill should tell his deputy to pay his bifi and added, “you can go hick

yourself.” The call then ended.

   .34. Unsure whether the caller had actually been the Clayton County Sheriff,

(.1-I. used PàceTime to callback sevei~ai thties until Defendant HILL answered

and removed a mask he was wearing.

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   35. After the FaceTime calls, Defendant HILL texted GB., warning him not to

call or text anymore. GB. responded via text, “So this is Victor Hill correct.”

Defendant HILL responded with a second text warning for G.H. not to call or

text him anymore..

   3~. Although GB. did not call or tet again, Defendant HILL. the next day

instructed a CCSO deputy to swear out an arrest warrant against G.H. for

harassing cotnmurdcations.

   37~ The ne~.. d.~.y, April 24,2020, Defendant HILL texted G.H~, ‘1[Tjhis is

Sheriff Victor Hilt. We have a warrant for your. arrest Would you like to turn

yourself in, or have my Deputies find you?” G.H. did not respond.

   38. The next morning, April25, 2020, Defendant HILL again texted G.H~, “My

Deputies are aetively lool<ln!for ycu. We have not and will not agree for yoU to

tutn yourself in when you want to. Turn ycurself in today.”

   39. MeanwhIle, Defendant HILL had sent a fttgitive squad armed with

handgm. and AR-15 rifles to Butts County in an attempt to arrest G.H. on the

n~isdemeanor arrest warrant.

   40... After retaining a lawyer, G.H.. turned himself in at the CCSO during the

everiing~ of April27,. 2020. Clayton County records indicate that G.H. was

unarmed, not under the. influence of drugs, and offered no resistance.

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   4t Shortly thereafter, G.H. was booked. into the jail as a pretrial detainee

pending trial on the harassing conunrn:ilcations charges.

   42. Surveillance footage from the jail shows G.H. interacting with jail

personnel for raoTe than half an hour, duringwhich time he appeared

cooperative and compliant, before Defendant HILL arrived and confronted him.

   43. Immediately upon Defendant HILL’s arrival, although G.H. was

surrounded by law enforcement personnel, remained compliant, and never

posed a thr.eatto anyone, GIL was strapped into a restraint chaft and left there

for several hours per Defendant HILL’s orders.

                                     Victim W.T.

   44.. On the month g of May 11, 2020, W.T. was arrested in Clayton County by

a eorgiatate Patrol (GSP) trooper for speeding arid driving with a suspended

Florida driver’s license. The GSP trooper transported W.T~. to the Clayton

County Jail without incident.

   45. After W.T. arrIved at the jail~.he was met by Defendant HILL and.

members of the CCSO Scorpion Response Team (SRT~. Although W.T. was not

physically aggressive and never~ ~posed a threat to anyone, Defendant HILL

ordee.d,STofficers to sitrapWJ.. into a restraint chair. W.T. Was leftixi the

restraint chair for several hours per Defendant ITILL’s orders.

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   46. Soon after W.T. was strapped into the restrah t chair and while W.T. was

still in the presence of Defendant BILL, a CCSO employee covered W.T.’s head

with a hood.

   47. Just after W.T~’s head was covered with a hood, W.T.’s face was strtick

twice by what W.T. believed to be a fist. The strikes caused W.T. to bleed.

   48. At some point later~. while still strapped in the restraint chair, W.T. was

able to get the attention of a CCSO officer. The officer walked over to W.T. and

asked if W~T~ was “the one they beat up?” The officer covered the blood on

W.T.’s jail ttniform with.. a white paper smock and tOok a photograph ofW.T.

   49. During his time in the restraint chair, W.T. was not allowed to go to the

restroom and urinated   Ofl: the   restraint chair.

                                        Coumt O~e

   50. The Grand Jury re-alleges and incorporates by reference Paragraphs 1

through 49 of this Indictment as if fully set forth here.

   51, On or about Pthrua y’25, 2,020, ‘in the Northern District of Georgia,

Defendant VICTOR HILL, while ~ under color of law, willfully deprived

J.A.. of the right, secured and protected by the Constitution and laws of the

United States, not to he deprived of liberty without due proc~ess of law, which

includes the right to be free from the use of unreasonable force by law

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enforéement officers. amounting to punishment. Specifically, Defendant HILL

caused J.A. to be strapped into a restraint chair without any legiffmate

nonp~anitive governmental purpose. and for a period exceeding that justified by

~ny legitimate nonpuriitive governmental purpos-e. This offense caused physical

pain and resulted in bodily injury to LA.

   All in violation of Tifie 18, United States Code, Section 242.

                                       Coimt Two

   5Z The Qrand.juxy re-alleges and incorporates by reference Paragraphs 1

through 49 of this Indictment as. if fully set forth here.

   53. On or about April 27, 2020; in the Northern District of Georgia, Defendant

VICTOR HILL, while acting under color of law, willfully deprived C.H. of the

right, secure4 and protected by the Constitution and laws of the United States.,

not to be deprived of liberty without due process of law, which includes the right

to be free from ihe use of unreasonable force by law enforcement officers

~rnountirg to punishment. Specifically, Defendant HILL caused C.H. to be

strapped into a restraint chair without any legitimate nonpunitive governmental

purpose and for a period exceeding that justified by.any legitimate nonpunitive

governmental purpose. This offense caused physical pain and resulted in bodily

injury to CJ~L

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   All inviolation of Title 18, United States Code, Section 242.



                                       Cotrnt Three

   54. The Grand Jury re-alleges and incorporates by reference Paragraphs 1

tbr•b~ugh 49 of this Indictment as if fully set forth here.

   55. On. or about April 7,2020, in the Northern District of Georgia, Defendant

VICTOR HILL, while acting under color of law, willfully deprived J.H. of the

right, •secure4 ~r~I protected by the Constitution and laws of the United States,

not to he deprived of liberty without due process of law, which includes the right

to be free from the use of unreasonable force by law enforcement officers

amounting to ptmishrtent.. Specifically, Defendant HILL caused JR. to be

strapped into a rest    ..Lt chair without   any legitimate nonpunitive governmental

purpose ~nd. for a period exceeding that justified by any legitimate nonpimfflve

go’~errimenta1. purpose. This offense caused physical pain and resulted in bodily

injury to J.H.

   All in violation of Title 18, United States Code, Section 242.

                                        Count Four

   E6. The Grand Jury re-alleges and incorporates by reference Paragraphs 1

thiough 49 of this Indictment as if fully set forth here.

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   57. On or about. April 27, 2020, in the Northern Dis*rict of Georgia, Defendant

VICTOR HILL, while acting under color of law, wi11~ y deprived G.H. of the

right, secured and protected by the Constitution and laws of the United States,

not to be deprived of liberty without due process of law, which includes the right

to be free from the use of unreasonable force by law enforcement officers

amounting to punishment Specifically, Defendant HILL ordered G.H. to be

;strapped into a restraint chair without any legitimate nonpunitive governmental

pirpose and for a period exceedingthatjustified by any legitimate nonpunitive

governmental punpose. This offense caused physical pain arid resulted in bodily

irijiiryto G.H.

   All in violation of Title 18, United States Code, Section 242.

                                       Count Five

   58. The Grand Jury re-alleges and incorporates by reference Paragraphs 1

through .9 of this Indictment as if fully set forth here.

   59... Ofl :OI~bOUt May 11, 2020, in: the Northern L)istrict of Georgia, Defendant.

VICTOR HILL, while acting under color of law, willfully deprived W.T. of the

right, secured and protected by the Constitution and laws of the United States,

not to be deprived of liberty withouf due process of law, which includes the right

to be free from the use of unreasonable force by law enforcement officers

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ani~oim±ingto pirnishment. Specifically, Defendant EL caused W.T. to be

strapped into a restraint c~hidr without any legitimate nonpunitive governmental

~w~pose arid for a period exceeding th~~~at justified by any legitimate nonpuriitive

governmental purpose. This offense caused physical.pain and resulted in bodily

hi jury to. W.T,

   All in violation of Title 18, United States Code, Section 242.


                                           A             4/1>                   BILL




 KURT R. ERSKINE
    efing United   ~.   tes Attorney


  Assistant Uiiife~t States Attor~iey
 G~o    ~aB~ ;Nb.. 155089
  /
 BRET R. HOBSON
  Assistant United 5~f~ Attorney
 Georgia Bar No~ 882520
 .600 UK Courthouse
 75 Ted. Turner Drive SW
 Atlanta, GA 30303
 404-581-6000




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